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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

JAMES BROWN, THERESA CAMBRON,
PHILIP LEIGH, AND EMIL WALTHER III,
On Behalf of Themselves and All Others
Similarly Situated,
                                                         CIVIL ACTION NO. 3:14-CV-335-
               PLAINTIFFS                                JGH

v.                                                      ELECTRONICALLY FILED

TAX EASE LIEN SERVICING, LLC, TAX
EASE LIEN INVESTMENTS 1, LLC, BLUE
GRASS ABSTRACT, LLC, LIEN DATA
SERVICES, LLC, PHIL MIGICOVSKY,
HAYDEN CRAIG & GRANT, PLLC (N/K/A
CRAIG LAW OFFICE, PLLC), RICHARD
ERIC CRAIG, SHERROW, SUTHERLAND
& ASSOCIATES, PSC, AND BILLY W.
SHERROW,

               DEFENDANTS



                                     PROPOSED ORDER

       Upon motion by Defendants Hayden Craig & Grant, PLLC (N/K/A Craig Law Office,

PLLC) and Richard Eric Craig to establish a due date of May 8, 2014 to respond to Plaintiffs’

Complaint herein, and the Court having fully considered the arguments and submissions of the

parties and the applicable law, and being otherwise sufficiently advised,



       IT IS HEREBY ORDERED that Defendants’ motion is GRANTED. Hayden Craig &

Grant, PLLC (N/K/A Craig Law Office, PLLC) and Richard Eric Craig shall have until May 8,

2014 to respond to Plaintiffs’ complaint.
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                                   Tendered By:



                                   /s/ R. Eric Craig
                                   R. Eric Craig
                                   Weber & Rose, PSC
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                                   Louisville, KY 40202
                                   Telephone: (502) 589-2200
                                   Counsel for Richard Eric Craig and Hayden Craig
                                   & Grant, PLLC (N/K/A Craig Law Office, PLLC)
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                                  CERTIFICATE OF SERVICE

       This is to certify that on June 5, 2014 I electronically filed the foregoing with the Clerk of

the Court via the CM/ECF system and by US Mail, postage pre-paid to all those below not

receiving electronic service thereby:

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                                                             /s/ R. Eric Craig_______
                                                             R. Eric Craig
